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                       EXHIBIT A

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10/12/23 SILVERBERG         PREPARATIONS FOR COMMITTEE CALL,           2.00      2,780.00
                            AGENDA (.6); ATTEND AND PARTICIPATE ON
                            COMMITTEE CALL (1.4)
10/12/23 STARK              PREPARE FOR (.6) AND CONDUCT OCC           2.00      3,900.00
                            CALL (1.4)
10/13/23 STARK              T/C D. AZMAN RE STATUS AND STRATEGY        1.00      1,950.00
                            (.5); T/C OCC MEMBERS RE CEO OUTREACH
                            (.5)
10/14/23 SAWYER             EMAILS WITH COMMITTEE AND                  0.20        178.00
                            PROFESSIONALS RE BID COMPARISON
10/15/23 AXELROD            REVISE WEEKLY STATUS UPDATE                0.30        300.00
10/16/23 AXELROD            REVISE AND CIRCULATE FAQ                   0.20        200.00
10/17/23 LENNON             ATTENTION TO FAQ COMMUNICATIONS            0.30        292.50
10/17/23 SCHEIN             TELEPHONE CALLS FROM CREDITORS RE          0.50        382.50
                            PROOFS OF CLAIM
10/18/23 LENNON             ATTENTION TO COMMUNICATIONS AND            0.80        780.00
                            GENERAL CLAIM FORM FAQS
10/18/23 SILVERBERG         CONFERENCE WITH A. O'BRIENT, POLARIS,      1.10      1,529.00
                            D. DUNN, R. STARK REGARDING CASE
                            PLANNING AND STRATEGY (.5), FOLLOWUP
                            CALL WITH R. STARK REGARDING CASE
                            STATUS (.3); FINALIZE Q&AS FOR WEBSITE
                            REGARDING CLAIMS SUBMISSION (.3)
10/18/23 AXELROD            REVISE AND ASSIST WITH PUBLICATION OF      0.30        300.00
                            CLAIMS FAQS
10/19/23 SAWYER             PREPARE FOR COMMITTEE MEETING (.6);        2.60      2,314.00
                            ATTEND AND TAKE NOTES ON SAME (2.0)
10/19/23 AXELROD            MEET WITH PROVINCE RE PREFERENCE           2.50      2,500.00
                            RECOVERY MODELLING (.5); CLIENT
                            MEETING RE CASE STRATEGY AND NEXT
                            STEPS (2.0)
10/19/23 SILVERBERG         REVIEW PROVINCE GENERATED                  3.10      4,309.00
                            RECOVERY MODEL (.2); TELEPHONE
                            CONFERENCE WITH J. DONG, T. AXELROD
                            REGARDING RECOVERY MODEL (.6);
                            PREPARATIONS FOR COMMITTEE CALL,
                            AGENDA (.3); ATTEND AND PARTICIPATE ON
                            COMMITTEE CALL (2.0)
10/19/23 DWOSKIN            ATTEND COMMITTEE MEETING                   1.90      1,947.50
10/19/23 STARK              CONDUCT OCC CALL                           2.00      3,900.00
10/20/23 SAWYER             RESPOND TO INCOMING INQUIRIES FROM         0.40        356.00
                            CREDITOR
10/22/23 SAWYER             REVIEW CORRESPONDENCE WITH                 0.40        356.00
                            COMMITTEE AND PROFESSIONALS RE
                            PREFERENCE CLAIMS AND SALE PROCESS
10/22/23 AXELROD            REVIEW PROVINCE PREFERENCE                 1.20      1,200.00
                            ANALYSIS (.8); UPDATE WORKSTREAM
                            CHART (.4)
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10/02/23 BOUCHARD           LEGAL ANALYSIS RE: TAX IMPLICATIONS OF      1.30       1,560.00
                            PROPOSED PLAN STRUCTURE
10/02/23 SILVERBERG         CONFERENCE WITH M. KANDESTIN, S.            3.50       4,865.00
                            DWOSKIN, N. BOUCHARD REGARDING PLAN
                            COMMENTS (.4); CONFERENCE AMONG BR,
                            MWE REGARDING TAX DISCLOSURE
                            SECTION OF DISCLOSURE STATEMENT (.5);
                            ANALYSIS OF PLAN ISSUES (2.5);
                            CONFERENCE WITH P. FLINK REGARDING
                            DS RISK FACTORS (.1)
10/03/23 DWOSKIN            REVISE PLAN AND DISCLOSURE                  5.80       5,945.00
                            STATEMENT (3.1); DRAFT INSURANCE
                            ANALYSIS (2.1); ANALYZE BIDDER
                            INDICATION OF INTEREST(.6)
10/03/23 SCHEIN             TELEPHONE CALLS WITH S. DWOSKIN RE          3.30       2,524.50
                            VOTING LETTER (.6); REVISE AND UPDATE
                            VOTING LETTER (1.0); PREPARE PORTAL
                            FOR COMMITTEE MEMBERS (.4);
                            CORRESPONDENCE WITH DEBTORS
                            COUNSEL RE INCONSISTENCIES (.2);
                            REVIEW AMENDED DS AND PLAN FOR
                            ADDITIONAL INCONSISTENCIES IN
                            PREPARATION OF HEARING (1.1)
10/03/23 AXELROD            REVIEW AND STRATEGIZE RE PLAN               0.70        700.00
                            CHANGES
10/03/23 FLINK              REVIEW TERM SHEET AND ASSOCIATED            0.20        272.00
                            CORRESPONDENCE
10/03/23 STARK              PREPARE FOR (.1) AND CONDUCT OCC            1.50       2,925.00
                            CALL (1.4)
10/03/23 SILVERBERG         TELEPHONE CONFERENCE WITH S.                2.60       3,614.00
                            DWOSKIN REGARDING PLAN SOLICIATION
                            LETTER (.2); REVIEW AND REVISE
                            SOLICITATION LETTER (.4); CONTINUED
                            REVISIONS TO PLAN, CONSIDERATIONS TO
                            CASE RESOLUTION (2.0)
10/04/23 SCHEIN             REVIEW OF DEBTOR COMMENTS TO                0.80        612.00
                            SOLICITATION LETTER AND REVISE SAME
10/04/23 DWOSKIN            REVIEW REVISIONS TO PLAN AND                9.20       9,430.00
                            DISCLOSURE STATEMENT (3.1); DRAFT
                            REVISIONS TO PLAN (3.8); CALLS WITH
                            PROVINCE RE SAME (1.0); CALLS WITH
                            DEBTOR COUNSEL RE SAME (.6); REVISE
                            SOLICITATION LETTER (.7)
10/04/23 STARK              REVISIONS TO PLAN STRUCTURE ISSUES,         7.00      13,650.00
                            AND NEGOTIATIONS OVER SAME, IN
                            ADVANCE OF DISCLOSURE STATEMENT
                            HEARING
10/04/23 SCHEIN             RECEIPT AND REVIEW OF AMENDED               1.20        918.00
                            DISCLOSURE STATEMENT AND PLAN (.8);
                            CORRESPONDENCE WITH DEBTORS
                            COUNSEL RE REVISIONS (.4)
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10/04/23 SCHEIN             REVIEW OF DOCKET FOR SOLICITATION           0.40        306.00
                            PROCEDURES AND AMENDED
                            PROCEDURES FOR SAME, INCLUDING OPT-
                            IN CHANGES (.3); CORRESPONDENCE WITH
                            S. DWOSKIN (.1)
10/04/23 AXELROD            REVIEW AND COMMENT RE PLAN DRAFTS           2.40       2,400.00
                            (1.4); MEET WITH PROVINCE RE
                            LIQUIDATION ANALYSIS AND RELATED
                            PLAN AND DS DEVELOPMENT ISSUES (1.0)
10/04/23 SILVERBERG         REVIEW COMMITTEE SOLICITATION LETTER        8.70      12,093.00
                            REVISIONS (.3); REVIEW AND COMMENT ON
                            PROPOSED LIQUIDATION ANALYSIS (1.5);
                            CONFERENCE WITH R. STARK REGARDING
                            PLAN (.1); REVIEW REVISED TURNS OF
                            PLAN (1.2); REVIEW COMMITTEE MEMBER
                            COMMENTS TO PLAN (.9); CONFERENCE
                            WITH J. DONG, J. BERMAN, S. DWOSKIN
                            REGARDING PLAN (.2); CONFER WITH R.
                            STARK, S. DWOSKIN REGARDING PLAN
                            ISSUES (.5); CONFERENCE WITH J. DONG, J,
                            BERMAN, S. DWOSKIN REGARDING PLAN
                            COMMENTS, LIQUIDATION ANALYSIS
                            CONCERNS (1.3); CONFERENCE WITH D.
                            DETWEILLER REGARDING DISCLOSURE
                            STATEMENT HEARING PREPARATIONS (.5);
                            PREPARATIONS TO ARTICULATE UCC
                            POSITION AT DISCLOSURE STATEMENT
                            HEARING (2.0); CONFERENCE WITH D.
                            AZMAN REGARDING PLAN (.2)
10/04/23 BOUCHARD           REVIEW AND ANALYZE REVISIONS TO             1.70       2,040.00
                            MULTIPLE DRAFTS OF PLAN AND
                            DISCLOSURE STATEMENT
10/05/23 AXELROD            REVIEW PLAN REVISIONS AND QUESTION          1.40       1,400.00
                            TO DEBTORS (.6); CLIENT MEETING RE
                            PLAN AND DS AND RELATED (.8)
10/06/23 SAWYER             MEETING WITH COMMITTEE AND DEBTOR           1.10        979.00
                            PROFESSIONALS RE SALE PROCESS
                            STRATEGY DISCUSSION
10/10/23 SILVERBERG         REVIEW RECOVERY ANALYSIS (.3),              0.80       1,112.00
                            CONFERENCE WITH J. DONG REGARDING
                            RECOVERY ANALYSIS, ASSUMPTIONS (.5)
10/10/23 DWOSKIN            REVIEW REVISED PLAN AND DISCLOSURE          1.40       1,435.00
                            STATEMENT
10/11/23 SILVERBERG         REVIEW REVISED RECOVERY ANALYSIS            1.00       1,390.00
                            (.3); CONFERENCE WITH R. STARK RE DIP
                            FINANCING ALTERNATIVES (.3); REVIEW
                            PROPERTY OF THE ESTATE, PREFERENCE
                            ANALYSIS MEMO (.4)
10/13/23 AXELROD            REVIEW AND DISCUSS LIQUIDATION AND          1.40       1,400.00
                            RECOVERY ANALYSIS WITH PROVINCE RE
                            POE ANALYSIS AND PREFERENCE
                            RECOVERIES (1.0); REVISE FAQS (.4)
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10/14/23 SILVERBERG         CONFERENCE WITH M. MITCHELL, J. DONG,         0.60        834.00
                            T. AXELROD RE RECOVERY ANALYSIS
10/16/23 SILVERBERG         REVIEW REVISED RECOVERY ANALYSIS,             1.60      2,224.00
                            PREFERENCE DATA (1.0); CONFERENCE
                            WITH J. DONG, M. MITCHELL, T. AXELROD
                            REGARDING RECOVERY ANALYSIS (.6)
10/17/23 AXELROD            PREP FILING OF FAQ DOCUMENT                   0.30        300.00
10/17/23 STARK              T/C J. LEVITAN RE J. LAW REQUEST FOR          3.50      6,825.00
                            PLAN RELEASES (.5); T/C RU RE DIP
                            PROPOSAL, CASE STATUS (.8); FOCUS ON
                            SAME (.7); T/CS B. SILVERBERG RE PLAN
                            ISSUES, BIDDING PROCESS (1.0)
10/17/23 SILVERBERG         CONFERENCE WITH R. STARK REGARDING            0.40        556.00
                            PLAN ISSUES (.2); CONSIDER PLAN
                            SUPPLEMENT ISSUES (.2)
10/18/23 STARK              CONTINUED WORK ON PLAN STRUCTURES,            3.00      5,850.00
                            PREFERENCE ISSUES, FINANCING (2.0); C/C
                            POLARIS RE SAME (1.0)
10/18/23 BOUCHARD           LEGAL ANALYSIS RE: TAX IMPLICATIONS OF        1.10      1,320.00
                            PROPOSED POST-EFFECTIVE DATE
                            STRUCTURE
10/18/23 SILVERBERG         CONFERENCE WITH D. AZMAN, R. STARK            1.00      1,390.00
                            RE CASE PLANNING AND STRATEGY (.8);
                            REVIEW RECOVERY ANALYSIS (.2)
10/19/23 SILVERBERG         CONFERENCE WITH D. AZMAN REGARDING            1.30      1,807.00
                            PLAN ISSUES (.4); ANALYSIS OF PLAN
                            ISSUES (.2); CONFERENCE WITH B. KELLY,
                            N. BOUCHARD REGARDING PLAN
                            SUPPLEMENT DOCUMENT PREPARATIONS
                            (.2); CONFERENCE WITH R. STARK, D.
                            AZMAN REGARDING PLAN ISSUES,
                            CONFIRMATION HEARING SCHEDULING (.5)
10/19/23 DWOSKIN            DRAFT PLAN SUPPLEMENT DOCUMENTS               1.90      1,947.50
10/19/23 SCHEIN             MEETING WITH T. AXELROD RE PLAN               1.00        765.00
                            SUPPLEMENT (.4); STRATEGY AND
                            ANALYSIS FOR PREPARATION FOR SAME
                            (.6)
10/19/23 STARK              CONTINUED PLAN NEGOTIATIONS                   1.00      1,950.00
10/19/23 BOUCHARD           LEGAL ANALYSIS RE: PROPOSED PLAN              1.10      1,320.00
                            STRUCTURE AND TAX IMPLICATIONS OF
                            SAME
10/19/23 SAWYER             FOLLOW UP WITH T. AXELROD AND J.              0.20        178.00
                            SCHEIN RE PLAN ADMINISTRATOR
                            AGREEMENT
10/19/23 AXELROD            STRATEGIZE RE PLAN SUPPLEMENT PREP            0.80        800.00
10/19/23 KELLY              ANALYSIS OF TAX CONSIDERATIONS FOR            1.00      1,375.00
                            PLAN SUPPLEMENT QUALIFIED
                            SETTLEMENT TRUST AGREEMENT (.5);
                            BEGIN FIRST DRAFT OF QSF TRUST
                            AGREEMENT (.5)
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10/20/23 DWOSKIN            DRAFT PLAN SUPPLEMENT DOCUMENTS              3.60      3,690.00
10/20/23 SCHEIN             REVIEW OF PLAN (.6) AND CREDIT               3.90      2,983.50
                            AGREEMENT(.3); PREPARE PLAN
                            SUPPLEMENT LITIGATION DOCUMENTS(3.0)
10/20/23 SILVERBERG         CONFERENCE WITH D. AZMAN REGARDING           0.20        278.00
                            PLAN ISSUES (.1), CONFERENCE WITH D.
                            AZMAN REGARDING VOTING DEADLINE,
                            PLAN MILESTONES (.1)
10/20/23 KELLY              WORK ON DRAFTING PCT LITIGATION              4.50      6,187.50
                            TRUST QSF AGREEMENT (4.2); CALL WITH
                            B. SILVERBERG TO REVIEW CERTAIN
                            DRAFTING POINTS ON LITIGATION TRUST
                            AGREEMENT (.3)
10/21/23 KELLY              REVISE AND FINALIZE DRAFT OF QSF             1.90      2,612.50
                            TRUST AGREEMENT
10/21/23 SILVERBERG         REVIEW PLAN SUPPLEMENT DOC                   0.20        278.00
                            CREDITORS TRUST AGREEMENT
10/22/23 SAWYER             REVIEW AND REVISE DRAFT PLAN                 1.60      1,424.00
                            ADMINISTRATOR AGREEMENT
10/22/23 SCHEIN             PREPARE AND REVISE PLAN SUPPLEMENT           4.50      3,442.50
                            (3.7); REVIEW OF PLAN MATERIALS
                            PREPARED TO COORDINATE SAME (.8)
10/22/23 AXELROD            REVIEW PLAN SUPPLEMENT DRAFTS AND            0.30        300.00
                            STATUS
10/23/23 AXELROD            REVIEW AND COMMENT RE PLAN ADMIN             1.10      1,100.00
                            AGREEMENT (.6); MEET WITH PROVINCE RE
                            PROTEGO AND PREF ANALYSIS (.5)
10/23/23 STARK              T/C D AZMAN RE STATUS AND STRATEGY           2.00      3,900.00
                            (.5); O/C B SILVERBERG RE SAME (.5);
                            PREPARE FOR AND CONDUCT TEAM
                            MEETING (INCLUDING PROVINCE) RE CASE
                            CONCLUSION ANALYSES (1.0)
10/23/23 SCHEIN             FURTHER PREPARATION AND REVISIONS            5.50      4,207.50
                            TO PLAN AGREEMENTS
10/24/23 AXELROD            REVIEW AND COMMENT RE PLAN                   2.90      2,900.00
                            ADMINISTRATOR AGREEMENT (.6); REVIEW
                            PREFERENCE ANALYSIS AND COMMENT RE
                            DATA PRESENTATION ETC (.8); REVIEW AND
                            REVISE PLAN SUPPLEMENT DRAFTS (1.5)
10/24/23 STARK              T/CS B. SILVERBERG RE STATUS AND             0.70      1,365.00
                            STRATEGY
10/24/23 DWOSKIN            DRAFT SCHEDULE OF RETAINED CAUSES            1.70      1,742.50
                            OF ACTION
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10/24/23 SCHEIN             REVIEW AND REVISE TRUST AGREEMENT          6.30      4,819.50
                            TO CONFORM WITH PAA AND PLAN; ATTN.
                            TO VESTED CAUSES OF ACTION (4.5);
                            REVISIONS TO PLAN AGREEMENT TO
                            REFLECT LANGUAGE FROM CREDITORS
                            LITIGATION TRUST(1.1);
                            CORRESPONDENCE ON STRATEGY FOR
                            SAME (.3); RECEIPT AND REVIEW OF
                            PREFERENCE ANALYSIS FROM PROVINCE
                            (.4)
10/24/23 SILVERBERG         REVIEW PLAN SUPPLEMENT                     0.50        695.00
                            DOCUMENTATION, LIQUIDATING TRUST
                            AGREEMENT
10/25/23 AXELROD            REVISE AND CIRCULATE PLAN                  2.30      2,300.00
                            SUPPLEMENT DOCUMENTS
10/25/23 SCHEIN             RECEIPT AND REVIEW OF                      0.40        306.00
                            CORRESPONDENCE FROM DEBTORS
                            COUNSEL RE AMENDED CONDITIONAL DS
                            APPROVAL ORDER, MATRIX AND SERVICE
                            ISSUES, SUPPLEMENTAL PLAN MATERIALS
                            AND LIQUIDATION PROCEDURES
10/25/23 SCHEIN             ANALYSIS AND CORRESPONDENCE ON             0.60        459.00
                            TRUST AGREEMENT AND PLAN
                            ADMINISTRATOR AGREEMENT, ATTN TO
                            CREDITORS' LITIGATION TRUST TO
                            PREPARE SAME TO BE SENT TO MWE
10/25/23 SAWYER             REVIEW DRAFT TRUST AGREEMENT (.5);         0.90        801.00
                            REVIEW AMENDED CONDITIONAL DS
                            APPROVAL ORDER (.4)
10/25/23 SILVERBERG         REVIEW AND COMMENT ON REVISED PLAN         0.50        695.00
                            SUPPLEMENT DOCUMENTS (.3); CONFER
                            WITH MWE REGARDING REVISED
                            SCHEDULE (.2)
10/25/23 KELLY              REVIEW AND COMMENT ON EDITS TO PCT         0.50        687.50
                            TRUST AGREEMENT
10/26/23 AXELROD            REVIEW AND COMMENT RE PLAN                 0.60        600.00
                            SUPPLEMENT CHANGES ON UCC REQUEST
10/26/23 SCHEIN             REVISIONS TO PLAN SUPPORT DOCUMENT         4.50      3,442.50
                            (1.8) AND TRUST AGREEMENT (1.1);
                            ENSURE COMPLIANCE WITH PLAN AND TO
                            REFLECT COMMITTEE COMMENTS TO SEND
                            TO MWE (1.6)
10/27/23 SAWYER             REVIEW REVISIONS AND COMMENTS TO           1.00        890.00
                            LITIGATION TRUST AGREEMENT (.8);
                            REVIEW COMMENTS TO RETAINED CAUSES
                            OF ACTION SCHEDULE (.2)
10/27/23 AXELROD            COMMENT AND REVISE PLAN SUPPLEMENT         0.90        900.00
                            (.6); REVISE WEEKLY UPDATE MATERIALS
                            RE SAME, SALE AND PREFERENCES ETC
                            (.3)
10/27/23 KELLY              REVIEW AND COMMENT ON EDITS TO QSF         0.30        412.50
                            TRUST AGREEMENT DOCUMENT
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10/09/23 FLINK              REVIEW BIDS AND ASSOCIATED                 0.20        272.00
                            CORRESPONDENCE
10/09/23 SAWYER             REVISIONS TO POE MEMO                      2.20      1,958.00
10/10/23 SAWYER             ANALYZE REVISIONS TO NDA WITH BIDDER       0.20        178.00
10/10/23 SCHEIN             ANALYZE REVISIONS TO NDA WITH BIDDER       0.20        153.00
10/10/23 STARK              FOCUS ON BIDDING ISSUES                    1.00      1,950.00
10/10/23 AXELROD            REVISE MEMO RE POE ISSUES                  0.40        400.00
10/11/23 AXELROD            REVISE POE MEMO (.3); MEET WITH            1.40      1,400.00
                            DEBTORS RE POE ISSUES AND RELATED
                            CREDITOR COMMUNICATIONS (.5); REVISE
                            AND CIRCULATE MEMO (.6)
10/11/23 SAWYER             ADDITIONAL RESEARCH RE POE MEMO (.9);      1.60      1,424.00
                            REVIEW REVISIONS TO SAME (.7)
10/13/23 SAWYER             REVIEW DRAFT LEASE REJECTION MOTION        0.40        356.00
10/14/23 AXELROD            CALL WITH PROVINCE RE LIQUIDATION AND      0.50        500.00
                            RECOVERY ANALYSIS
10/16/23 SAWYER             WORK ON LIQUIDATION ANALYSIS (.5);         1.20      1,068.00
                            MEETING WITH B. SILVERBERG, T.
                            AXELROD, AND PROVINCE RE SAME (.7)
10/16/23 SILVERBERG         ANALYSIS OF CURRENT BIDDING STATUS         0.30        417.00
10/16/23 AXELROD            CONSIDER PREFERENCE RECOVERY               1.70      1,700.00
                            MODEL
10/17/23 SAWYER             ANALYZE FURTHER REVISIONS TO               1.20      1,068.00
                            RECOVERY ANALYSIS (.8);
                            CORRESPONDENCE WITH BR AND
                            PROVINCE TEAMS RE SAME (.4)
10/17/23 SILVERBERG         CONFERENCE WITH D. AZMAN REGARDING         1.00      1,390.00
                            STATUS OF BIDS (.2), FOLLOWUP ISSUES
                            REGARDING POTENTIAL BIDDERS
                            CAPABILITY TO CLOSE (.2); CONSIDER
                            ISSUES REGARDING AFFIRMATIVE CLAIMS
                            (.6)
10/17/23 AXELROD            REVIEW PREFERENCE ANALYSIS AND             1.80      1,800.00
                            DISCUSS WITH PROVINCE (.3); REVIEW AND
                            COMMENT RE RECOVERY AND
                            LIQUIDATION ANALYSIS (1.5)
10/18/23 AXELROD            REVIEW AND STRATEGIZE RE PREFERENCE        3.00      3,000.00
                            AND RECOVERY ANALYSIS
10/19/23 SILVERBERG         CONFERENCE WITH D. AZMAN REGARDING         1.20      1,668.00
                            ADDITIONAL LITIGATION TARGETS (.1);
                            FOLLOWUP DISCUSSIONS WITH M.
                            WINOGRAD REGARDING POTENTIAL CLAIM
                            THEORIES (.3); REVIEW PROPOSED MOTION
                            REGARDING USE OF ESTATE ASSETS (.6),
                            FOLLOWUP CONFERENCES WITH D. AZMAN
                            REGARDING SAME (.2)
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